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 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK
  Petroleum Marketing Group, Inc., PMG
  Eastern Shore, LLC, and Ocean
  Petroleum, LLC

                                    Plaintiffs,

       vs.                                                        No. 8:19-cv-01256-DNH-CFH



  Express Farm, Inc. and Xi Li


                                    Defendants.

                                          NOTICE OF MOTION

        PLEASE TAKE NOTICE that, upon the annexed Joint Stipulation signed by all Parties, and upon

all the papers and pleadings filed in this action, Plaintiffs will move this District Court of the State of New

York, Northern District, 10 Broad Street, Utica, New York,13501 on the 12th day of June, 2020, at 10:00 a.m.

in the forenoon of that day, or as soon thereafter as counsel may be heard, for an Order granting Plaintiffs

leave to Amend their Complaint and Defendants leave to Amend their Answer.

        PLEASE TAKE FURTHER NOTICE that, pursuant to CPLR §2214(b), answering affidavits, if

any, are to be served upon the undersigned at least seven (7) days prior to the return date of the within motion.

Dated: Armonk, New York
       May 26, 2020
                                                           Respectfully submitted,


                                                           /s/ Urs Broderick Furrer __________
                                                           URS BRODERICK FURRER, ESQ.[SJC1]
                                                           HARRITON & FURRER, LLP
                                                           Attorneys for Plaintiffs Petroleum Marketing
                                                           Group, Inc., PMG Eastern Shore, LLC and
                                                           Ocean Petroleum, LLC
                                                           84 Business Park Drive, Suite 302
                                                           Armonk, New York 10504
                                                           (914) 730-3400
                                                           (914) 730-3405 Facsimile
                                                           UBFurrer@hflawllp.com



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